                     FOR PUBLICATION

      UNITED STATES COURT OF APPEALS
           FOR THE NINTH CIRCUIT

MICHAEL L. MAYES,                               No. 22-35075

                 Plaintiff-Appellant,         D.C. No. 1:21-cv-
     v.                                          01198-CL

AMERICAN HALLMARK
INSURANCE COMPANY OF                              OPINION
TEXAS, a foreign corporation,

                 Defendant-Appellee.

          Appeal from the United States District Court
                    for the District of Oregon
          Michael J. McShane, District Judge, Presiding

                  Submitted August 22, 2024 *
                        San Francisco

                     Filed August 22, 2024

     Before: Lucy H. Koh and Jennifer Sung, Circuit Judges,
              and David A. Ezra,** District Judge.

*
 The panel unanimously concludes this case is suitable for decision
without oral argument. See Fed. R. App. P. 34(a)(2).
**
  The Honorable David A. Ezra, United States District Judge for the
District of Hawaii, sitting by designation.
2             MAYES V. AMERICAN HALLMARK INS. CO.


                     Opinion by Judge Sung


                          SUMMARY ***


                             Removal

    The panel affirmed the district court’s denial of plaintiff
Michael Mayes’ motion to remand his action to state court
after American Hallmark Insurance Company removed it to
federal court.
    The panel held that under 28 U.S.C. § 1446(b)(1), a
defendant may remove a state-court civil action after it has
received a copy of the complaint but before it has been
formally served.
  The panel addressed the remainder of Mayes’ appeal and
American Hallmark’s cross-appeal in a concurrently filed
memorandum disposition.


                            COUNSEL

Michael L. Mayes, Pro Se, Rogue River, Oregon, for
Plaintiff-Appellant.
David P. Rossmiller, Quintairos Prieto Wood &amp; Boyer PA,
Vancouver, Washington; Elissa M. Boyd, The Chartwell
Law Offices LLP, Portland, Oregon; for Defendant-
Appellee.

***
   This summary constitutes no part of the opinion of the court. It has
been prepared by court staff for the convenience of the reader.
              MAYES V. AMERICAN HALLMARK INS. CO.                  3


                            OPINION

SUNG, Circuit Judge:

    This opinion addresses a relatively straightforward but
open question about when a defendant may remove a civil
action from state to federal court under 28 U.S.C. § 1446, the
statute that governs the removal procedure. The question
presented is whether, under § 1446(b)(1), a defendant may
remove a civil action after it has received a copy of the
complaint but before it has been formally served. In other
words, does § 1446(b)(1) require a defendant to wait for
formal service before removing an action? We agree with the
district court that under § 1446(b)(1), a defendant may
remove a state-court action once it receives a copy of the
complaint; it does not have to wait for formal service.
Accordingly, we affirm the denial of Plaintiff Michael
Mayes’ motion to remand this case to state court. 1
                         I. Background
    Plaintiff Michael Mayes filed a complaint against
American Hallmark Insurance Company (“American
Hallmark”) in state court. After American Hallmark received
a copy of the complaint, but before it was formally served, it
removed the case to federal court based on diversity
jurisdiction. Mayes moved to remand the case, arguing that
removal was improper because American Hallmark had not
yet been formally served.


1
 We address the remainder of Mayes’ appeal and American Hallmark’s
cross-appeal in a concurrently filed memorandum disposition, Mayes v.
Am. Hallmark Ins. Co., Nos. 22-35075, 22-35120, 2024 WL --- (9th Cir.
2024) (affirming in part and reversing and remanding in part).
4           MAYES V. AMERICAN HALLMARK INS. CO.


    A magistrate judge concluded that § 1446(b)(1) does not
require formal service before removal and recommended
denying the motion to remand. After reviewing the issue de
novo, the district court agreed with the magistrate judge’s
reading of § 1446(b)(1) and denied the motion.
                       II. Discussion
    28 U.S.C. § 1446(b)(1) provides, in relevant part: “The
notice of removal of a civil action or proceeding shall be
filed within 30 days after the receipt by the defendant,
through service or otherwise, of a copy of the initial pleading
setting forth the claim for relief upon which such action or
proceeding is based . . . .” In plainer terms, § 1446(b)(1)
establishes a time limit for removal that generally starts to
run when the defendant receives a copy of the initial
pleading, which is typically a complaint. If a defendant files
a notice of removal after the time limit has run out, then
removal is improper. See Fristoe v. Reynolds Metals Co.,
615 F.2d 1209, 1212 (9th Cir. 1980) (per curiam) (“[A]
timely objection to a late [removal] petition will defeat
removal . . . .”).
    In this case, however, the issue is not whether the
defendant filed its notice of removal too late, but whether the
defendant filed its notice of removal too early. Mayes argues
that § 1446(b)(1) does not just set an end date for removal,
but also sets a starting date. That is, Mayes argues that
§ 1446(b)(1) sets a “window” for removal and prohibits a
defendant from filing a notice of removal both before the
window has opened and after it has closed.
    The plain language of § 1446(b)(1) suggests that a
defendant may file a notice of removal once it has received
a copy of the complaint, whether it received the complaint
through formal “service or otherwise.” But Mayes correctly
            MAYES V. AMERICAN HALLMARK INS. CO.              5


points out that the Supreme Court narrowly construed this
provision in Murphy Bros. v. Michetti Pipe Stringing, Inc.,
526 U.S. 344 (1999). There, the defendant received a copy
of the complaint before it was formally served, and the issue
was whether the removal time limit started to run when the
defendant received the complaint or later, when formal
service occurred. Id. at 348–49. The Court concluded that,
under § 1446(b)(1), the removal time limit starts to run only
when the defendant has received the complaint and has been
formally served. Id. at 354. In the Court’s view, requiring a
defendant to respond to a complaint before formal service
would conflict with the provision’s purpose and the historic
role of formal service in our system of justice. Id. at 350–53.
    Still, the Court’s interpretation of § 1446(b)(1) does not
compel Mayes’ reading. Even though § 1446(b)(1)’s 30-day
removal time limit does not start to run until the defendant
has both received the complaint and been formally served,
that does not mean that a defendant cannot remove until it
has both received the complaint and been formally served,
as Mayes now argues. The plain text of § 1446(b)(1) sets a
deadline for removal, not a “window” for removal. Nothing
in the statute’s text can be construed as barring a defendant
from filing a notice of removal before formal service. The
Court in Murphy explained that a defendant cannot be
required to respond before formal service. Id. at 347 (“[A]
defendant is not obliged to engage in litigation unless
notified of the action, and brought under a court’s authority,
by formal process.”). But the Court never suggested that a
defendant is prohibited from responding before formal
service.
    The statutory context supports our reading of
§ 1446(b)(1). Most notably, 28 U.S.C. § 1448 specifies how
6             MAYES V. AMERICAN HALLMARK INS. CO.


to complete service if removal occurred before service. 2
Because § 1448 expressly authorizes service after removal,
§ 1448 confirms that § 1446(b)(1) does not require service
before removal. Additionally, a defendant may waive
service, and we have held that such waiver of service does
not make removal improper. See Richards v. Harper, 864
F.2d 85, 87 (9th Cir. 1988) (citing § 1448).
    Finally, we note that all other circuit courts that have
considered this issue have reached the same conclusion. See
Novak v. Bank of N.Y. Mellon Tr. Co., NA, 783 F.3d 910, 914
(1st Cir. 2015) (per curiam) (“As far as we can tell, every
one has concluded that formal service is not generally
required before a defendant may file a notice of removal.”);
La Russo v. St. George’s Univ. Sch. of Med., 747 F.3d 90, 97
(2d Cir. 2014) (“Service of process upon a removing
defendant is not a prerequisite to removal.”); Delgado v.
Shell Oil Co., 231 F.3d 165, 177 (5th Cir. 2000) (Section
1446(b) “require[s] that an action be commenced against a
defendant before removal, but not that the defendant have
been served.”); see also Whitehurst v. Wal-Mart, 306 F.
App’x 446, 448 (11th Cir. 2008) (unpublished) (“[N]othing
in the removal statute, or any other legal provision, requires
that a defendant be served with the complaint before filing a
notice of removal.”).
    In sum, we hold that formal service is not a prerequisite
to removal under § 1446(b)(1). Therefore, removal was

2
  Section 1448 provides: “In all cases removed from any State court to
any district court of the United States in which any one or more of the
defendants has not been served with process or in which the service has
not been perfected prior to removal, or in which process served proves
to be defective, such process or service may be completed or new process
issued in the same manner as in cases originally filed in such district
court.”
            MAYES V. AMERICAN HALLMARK INS. CO.           7


proper in this case, and the district court correctly denied
Mayes’ motion to remand.
   AFFIRMED.
